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AO 121 (Rev. 06/16)
TO:

                   Register of Copyrights                                                               REPORT ON THE
                    U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                            ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                  Northern District of Georgia
DOCKET NO.                          DATE FILED
    1:22-cv-00783-SCJ                         2/23/2022
PLAINTIFF                                                                             DEFENDANT
Dale Cruse, Jernej Furman, Alex Proimos, Ben Schumin, Falco                           Block, Inc. fka Square, Inc. as successor by merger with
Ermert, Ivan Radic, Marco Verch, and Nenad Stojkovic                                  Weebly, Inc.



       COPYRIGHT
                                                                TITLE OF WORK                                               AUTHOR OR WORK
    REGISTRATION NO.

1                                   See attached list.

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill            G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                               AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                      DATE RENDERED

            G Order            G Judgment                                     G Yes         G No

CLERK                                                            (BY) DEPUTY CLERK                                             DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),      3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                   mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court                5) Case File Copy



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    Photographer                                                    Image Title                                       Registration #
Alex Proimos              The Sistine Chapel                                                                          VA 2-183-745
Ben Schumin               Chesapeake Bay Bridge from Sandy Point State Park                                           VA0002275638
Ben Schumin               University of Virginia Rotunda                                                              VA0002270981
Ben Schumin               Maury Hall Room G2                                                                          VA0002271059
Ben Schumin               West front of the Capitol [05]                                                              VA0002271060
Ben Schumin               Rose on replica coffin                                                                      VA0002271062
Dale Cruse                living room                                                                                  VA2272835
Dale Cruse                San Francisco                                                                               VA0002272820
Dale Cruse                pizza                                                                                        VA2272832
Dale Cruse                cast iron skillet crab pizza                                                                 VA2272834
Dale Cruse                Chinatown                                                                                    VA2272839
Falco Ermert              Ankerplatz-an-der-Bucht-Sveti-Ante-auf-Silba--Kroatien                                      VA0002176304
Ivan Radic                Close up shot of a flower on a Magnolia Soulangeana aka Tulip Tree                          VA0002271121
Ivan Radic                Close up of a fresh tomato next to a pizza in a restaurant                                  VA0002274517
Ivan Radic                Close up of autumn leaves                                                                   VA0002274517
Ivan Radic                Plastic waste on the ground                                                                 VA0002274517
Ivan Radic                Close up picture of brown dog's nose                                                         VA2275657
Ivan Radic                Father and son holding hands                                                                 VA2275657
Ivan Radic                Young woman holding a lawn mower grass catcher                                               VA2275657
Ivan Radic                Demonstrator holding a sign with the message White Silence Equals Violence at a              VA2275657
Ivan Radic                Dog's paw print in the dried up soil                                                         VA2275657
Ivan Radic                Child learning remotely                                                                      VA2275666
Ivan Radic                Schutzmaske mit buntem COVID 19 Text auf einem Tisch                                         VA2275666
Ivan Radic                Man holding his hand on a large pumpkin                                                     VA0002239707
Ivan Radic                Pumpkin growing under the leaves of the plant                                               VA0002239707
Ivan Radic                High fever with thermometer showing a body temperature above 40°C                           VA0002239700
Ivan Radic                Playing a chord                                                                             VA0002239700
Ivan Radic                Double helix shaped filaments in a light bulb                                               VA0002239700
Ivan Radic                Wireless Bluetooth Headphones and a phone                                                   VA0002239700
Ivan Radic                Mechanic running a car diagnostic test on a laptop                                          VA0002239700
Ivan Radic                Lonely teddy bear looking through the window                                                VA0002239700
Ivan Radic                Wired earphones and a phone                                                                 VA0002239700
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Ivan Radic                Child learning the right sequence of numbers                                                 VA0002239700
Ivan Radic                Halsschmuck mit rotem Edelstein auf dunklem Hintergrund                                      VA0002239700
Ivan Radic                Happy attendees. Beer Pong Vienna 2019                                                       VA0002239700
Ivan Radic                Playing a chord                                                                              VA0002239700
Ivan Radic                Mehmed Paša Sokolović Bridge in Višegrad                                                     VA0002239700
Ivan Radic                Sound guy behind a mixing console at a venue                                                 VA0002239700
Ivan Radic                Girls asking the barman to fill up their flasks                                              VA0002239700
Ivan Radic                Automehaniker arbeitet am Motor eines Wagens                                                 VA0002239700
Ivan Radic                Küken im Hof während einer Osterfeier unter freiem Himmel                                    VA0002239700
Ivan Radic                Geschäftsfrau arbeitet am Laptop im modernen Büro eines Startups                             VA0002239707
Ivan Radic                Tired and worried business woman holding her head while sitting in an office                 VA0002239707
Ivan Radic                Linkedin logo on company website displayed on computer screen with ripple effect             VA0002239707
Ivan Radic                A little girl picking grapes at a vineyard                                                   VA0002239707
Ivan Radic                A cute little girl playing with toys at home                                                 VA0002239707
Ivan Radic                YouTube logo on company website displayed on computer screen with ripple effect              VA0002239707
Ivan Radic                Close up of a female hand writing on a notepad                                               VA0002239707
Ivan Radic                A cute little girl playing with toys at home                                                 VA0002239707
Ivan Radic                Tired and worried business woman holding her head while sitting in an office                 VA0002239707
Ivan Radic                A bunch of puzzle pieces                                                                     VA0002239707
Ivan Radic                A mother, a son and a daughter playing with bubbles on the grass                             VA0002239707
Ivan Radic                Training a golden retriever in the garden                                                    VA0002239707
Ivan Radic                Geschäftsfrau arbeitet am Laptop im modernen Büro eines Startups                             VA0002239707
Ivan Radic                A bunch of puzzle pieces                                                                     VA0002239707
Ivan Radic                A female hand with pen on notepad, working on laptop in office                               VA0002239707
Ivan Radic                Blond young woman working on her laptop                                                      VA0002239707
Ivan Radic                A father holding his son's hand in the garden                                                VA0002239707
Ivan Radic                Black goat pushing its muzzle through a wire fence                                           VA0002239707
Ivan Radic                Alter Bauer hält geschälte Bohnen in der Hand                                                VA0002239707
Ivan Radic                A bunch of puzzle pieces                                                                     VA0002239707
Ivan Radic                Body of an electric guitar. Details of PRS custom blue matteo                                VA0002239707
Ivan Radic                A young woman in a red jacket driving a car                                                  VA0002239707
Ivan Radic                A father holding his son's hand in the garden                                                VA0002239707
Ivan Radic                A mower in the garden during mowing                                                          VA0002239707
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Ivan Radic                A little girl collecting apples from the concrete                                       VA0002239707
Ivan Radic                A female hand with pen on notepad, working on laptop in office                          VA0002239707
Ivan Radic                Übervoller Glascontainer                                                                VA0002239707
Ivan Radic                A father holding his son's hand in the garden                                           VA0002239707
Ivan Radic                Junger Arbeiter schleift ein Stück Holz                                                 VA0002239707
Ivan Radic                A young woman in a red jacket driving a car                                             VA0002239707
Ivan Radic                A little girl looking for a toy in a box                                                VA0002239707
Ivan Radic                A boy stepping on colored chalk                                                         VA0002239707
Ivan Radic                Junge Frau hält eine Hantel in der Hand während ihres Trainings                         VA0002274517
Ivan Radic                A woman holding a small dumb bell during a workout                                      VA0002274517
Ivan Radic                Young woman with A desk job related back problem                                        VA0002274517
Ivan Radic                Christmas fair at Rathausplatz in Vienna                                                VA0002274517
Ivan Radic                Christmas tree decorations at a Christmas market                                        VA0002274517
Ivan Radic                A young woman sitting on the floor and relaxing after a workout                         VA0002274517
Ivan Radic                Junge Frau hat Rückenschmerzen während sie in ihrem Büro sitzt                          VA0002274517
Ivan Radic                A woman holding a small dumb bell during a workout                                      VA0002274517
Ivan Radic                Junge Unternehmerin mit Laptop auf dem Schoß                                            VA0002274517
Ivan Radic                A young woman taking notes while sitting at the desk in her office                      VA0002274517
Ivan Radic                A girl meditating on her bed. Morning routine                                           VA0002274517
Ivan Radic                A fashionable man behind a steering wheel                                               VA0002274517
Ivan Radic                Junge Frau mit Wasserflasche und Hanteln ist im Begriff trainieren zu gehen             VA0002274517
Ivan Radic                A woman rolling up her exercising mat                                                   VA0002274517
Ivan Radic                Junge Frau sitzt am Boden nach dem Yoga und entspannt                                   VA0002274517
Ivan Radic                Working remotely during lockdown                                                         VA2275666
Ivan Radic                Kind sitzt am Computer                                                                   VA2275666
Ivan Radic                Vintage typewriter close up                                                              VA2275666
Ivan Radic                Nahaufnahme einer Floppy Diskette und eines USB Sticks                                   VA2275666
Ivan Radic                Close up of a blue line being drawn with a ballpoint pen                                 VA2275666
Ivan Radic                Working remotely during lockdown                                                         VA2275666
Ivan Radic                Face mask with colorful COVID 19 text on a desk in a child's room                        VA2275666
Ivan Radic                Grilling chicken drumsitcks without the bone                                             VA2275666
Ivan Radic                Laptop and a cup of coffee on the desk. Working from home                                VA2275666
Ivan Radic                Working remotely during lockdown                                                         VA2275666
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Ivan Radic                Lakenvelder chicken. Beautiful domestic rooster and hens in the yard                         VA2275657
Ivan Radic                Bee on a sunflower                                                                           VA2275657
Ivan Radic                Flowers on an old wooden oxcart. Creative gardening solutions                                VA2275657
Ivan Radic                White and blond woman holding a Black Lives Matter sign at a protest march                   VA2275657
Ivan Radic                Focused close up picture of a brown snail crawling on the road                               VA2275657
Ivan Radic                Close up picture of a beautiful honeybee collecting polled at violet flower                  VA2275657
Ivan Radic                Changing car tires at home                                                                   VA2275657
Ivan Radic                Old abandoned well with rusty bucket attached to a chain                                     VA2275657
Ivan Radic                Schubkarre mit gemähtem Gras                                                                 VA2275657
Ivan Radic                Curious cat and dog sniffing each other out                                                  VA2275657
Ivan Radic                Isolated picture of a basket full of colorful clothes pegs                                   VA2275657
Ivan Radic                Flowers on an old wooden oxcart. Creative gardening solutions                                VA2275657
Ivan Radic                Black Lives Matter rally in Austria, close up picture of sign with Check Your P              VA2275657
Ivan Radic                Black Lives Matter young protesters with Being Black Is Not A Crime sign                     VA2275657
Ivan Radic                Man holding an open book in his hand                                                         VA2269534
Ivan Radic                Close up of black coffee in a blue cup                                                       VA2269534
Ivan Radic                Man wearing a protective surgical mask on his forearm                                        VA2269534
Ivan Radic                SKY IS THE LIMIT text inside a basketball hoop. Concept of limitless oportuniti              VA2269534
Ivan Radic                Close up of a corn cob in man's hand                                                         VA2269534
Ivan Radic                Akita inu on a leash next to his friend in the backyard                                      VA2269534
Ivan Radic                Close up of a Velociraptor model in a dinosaur park                                          VA2269534
Ivan Radic                Basketball hoop on an old brick wall                                                         VA2269534
Ivan Radic                A father holding his son's hand in the garden                                               VA0002239707
Ivan Radic                Girl making eye contact through a pocket mirror                                             VA0002239710
Ivan Radic                Damaged brick wall giving in under its own weight                                           VA0002239710
Ivan Radic                Geschäftsfrau sitzt am Laptop und schreibt auf Notizblock mit Stift                          VA 2214322
Ivan Radic                Frontal close up of a lawn mower                                                             VA2275657
Ivan Radic                Close up of a decorative Easter egg hanging from a tree branch                               VA2275217
Ivan Radic                Young woman with A desk job related back problem                                            VA0002274517
Ivan Radic                Female office worker writing in her journal                                                 VA0002280715
Ivan Radic                Close up shot of growing ivy in the garden                                                   VA2275657
Ivan Radic                Enormous LGBT pride rainbow flag fluttering in front of a state building                    VA0002280715
Ivan Radic                Daisy flower illuminated by the Sun surrounded by shade                                     VA0002280715
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Ivan Radic                Close up of a gardener transplanting a plant, moving it from one pot to a new o             VA0002280715
Ivan Radic                Close up of a burning candle on a black background                                           VA2275217
Ivan Radic                A woman doing crunches on a yoga mat                                                        VA0002280715
Ivan Radic                Close up of "closed" sign on a store door                                                    VA2275217
Ivan Radic                Close up of a grass box on a lawn mower                                                      VA2275657
Ivan Radic                Grass shears on a concrete path next to overgrown lawn                                       VA2275657
Ivan Radic                Old scissors on a wooden surface                                                            VA0002276174
Ivan Radic                Baby boy grasping for a cherry in his fahter's hand                                          VA2275657
Ivan Radic                Bird's eye view of the physical crypto currency coins surrounded by chess piece              VA2275217
Ivan Radic                Child learning remotely                                                                      VA2275666
Ivan Radic                Close up of a woman doing bicep curles with red dumbbells                                   VA0002280715
Ivan Radic                Gardener placing a new plant in a plastic pot                                               VA0002280715
Ivan Radic                Wrecked Audi car                                                                            VA0002239700
Ivan Radic                A bunch of puzzle pieces                                                                    VA0002239707
Ivan Radic                A mower in the garden during mowing                                                         VA0002239707
Ivan Radic                Phone with social media apps on the screen leaning on an old book                           VA0002276174
Ivan Radic                Close up of a blue pacifier with elephant next to a sleeping child                          VA0002276174
Ivan Radic                A little girl collecting apples from the concrete                                           VA0002239707
Ivan Radic                Close up of a gardener putting soil in a flower pot around the plant                        VA0002280715
Jernej Furman             Businessman with blue magnifying glass                                                      VA0002239708
Jernej Furman             Hand writing the text Coming Soon                                                           VA0002239708
Jernej Furman             Silhouette of the man on top the peak of mountain on sunrise sky , Sport and ac             VA0002239708
Jernej Furman             One Hundred US dollar banknotes and Golden BTC Bitcoin                                      VA0002239708
Jernej Furman             Notebook with 2021 New Goals text on blue background                                        VA0002239708
Jernej Furman             Medical face masks with 2021 text on blue background                                        VA0002239708
Jernej Furman             Covid 19 crisis text on a torn paper                                                        VA0002228814
Jernej Furman             Test tubes and Erlenmeyer flask in laboratory                                               VA0002228814
Jernej Furman             Face mask and stethoscope on white background                                               VA0002228814
Jernej Furman             Black notebook with blue sticker and Democrat text                                          VA0002228814
Jernej Furman             Doctor with stethoscope and globe in his hand                                               VA0002228814
Jernej Furman             Final Notice on American flag                                                               VA0002228814
Jernej Furman             Medical doctor holding banner with Reopening Plans text, Isolated over blue bac              VA2216099
Jernej Furman             Medical doctor holding banner with WHO text, Isolated over blue background                   VA2216099
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Jernej Furman             Calculator with money and coins in front of flag of Belgium                                  VA2216099
Jernej Furman             Calculator with money and coins in front of flag of Cyprus                                   VA2216099
Jernej Furman             Bankruptcy Business man with an empty wallet                                                 VA2216099
Jernej Furman             Doctor with a blackboard with instructions how to fight Coronavirus                          VA2216099
Jernej Furman             Patriotic inspirational positive quote about novel coronavirus covid 19 in The               VA2216099
Jernej Furman             Globe isolated on white background                                                           VA2216099
Jernej Furman             USA flag with COVID 19 text                                                                  VA2216099
Jernej Furman             Medical worker in protective suit holding a sign with COVID 19 Pandemic text                VA0002206869
Jernej Furman             Trump Silhouette with American Flag and Covid 19 text                                       VA0002206869
Jernej Furman             OKR Objective Key Results acronym with marker, concept background                           VA0002206869
Jernej Furman             Handwriting Text Engagement Loading                                                         VA0002206869
Jernej Furman             Doctor or Nurse Wearing Medical Personal Protective Equipment (PPE) Against The             VA0002206869
Jernej Furman             CKD Chronic Kidney DIsease acronym with marker, concept background                          VA0002206869
Jernej Furman             Handwriting Text Cyber Security Loading                                                     VA0002206869
Jernej Furman             Thank You text on paper note and red hearts on blue paper background                        VA0002206869
Jernej Furman             Handwriting Text Webinar Loading                                                            VA0002206869
Jernej Furman             Coronavirus lockdown: World bordered by a yellow and black safety tape with the             VA0002206869
Jernej Furman             Handwriting Text Comming Soon Loading                                                       VA0002206869
Jernej Furman             Handwriting Text Comming Soon Loading                                                       VA0002206869
Jernej Furman             Handwriting Text New Job Loading                                                            VA0002206869
Jernej Furman             Handwriting Text Savings Loading                                                            VA0002206869
Jernej Furman             Thank You Hospital Workers text on paper note with red heart and stethoscope on             VA0002206869
Jernej Furman             Handwriting Text Comming Soon Loading                                                       VA0002206869
Jernej Furman             Handwriting Text Webinar Loading                                                            VA0002206869
Jernej Furman             Handwriting Text Pain Relief Loading                                                        VA0002206869
Jernej Furman             Globe in hands, coronavirus pandemic in world                                               VA0002206869
Jernej Furman             Handwriting Text My Story Loading                                                           VA0002206869
Jernej Furman             Pink Daisy Flower And Zen Stones On Leaf                                                     VA2275193
Jernej Furman             Wooden Banner Hanging On Rope                                                                VA2275193
Jernej Furman             Bankruptcy Business man with an empty wallet                                                 VA2216099
Jernej Furman             Medical face masks with 2021 text on blue background                                        VA0002239708
Jernej Furman             Microsoft Office website on computer screen                                                 VA0002239708
Jernej Furman             Magnifying glass with the text LOCAL SEO on office table                                    VA0002269994
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Jernej Furman             Where to travel during Covid 19 pandemic                                                  VA0002269994
Jernej Furman             Black sticker with a TAX SAVINGS text and a pen on red background                         VA0002282717
Jernej Furman             Word yes on white cubes                                                                   VA0002269994
Jernej Furman             NLP Neuro Linguistic Programming acronym with marker, concept background                  VA0002206869
Jernej Furman             Magnifying glass with text Coming Soon                                                    VA0002282717
Marco Verch               Open-notebook-with-To-do-list-on-wooden-table                                             VA0002239603
Marco Verch               Chia-seeds-and-chia-oil-on-white-background-with-wooden-spoon                             VA0002248844
Marco Verch               Top-view--white-puzzles-on-purple-background                                              VA0002248844
Marco Verch               Pieces-of-a-puzzle-on-white-background                                                    VA0002248842
Marco Verch               Dumbbell-with-personal-training-text                                                      VA0002248842
Marco Verch               School-background-with-comparing-the-magnitude-of-numbers                                 VA0002239486
Marco Verch               Christmas-bakery--Festive-food--cooking-process--family-culinary                          VA0002239486
Marco Verch               Remote-control-for-playing-in-male-hand--gamer-concept                                    VA0002239487
Marco Verch               Two-consoles-for-an-eight-bit-computer-game-with-a-bowl-of-popcorn-on-a-colorfu           VA0002239487
Marco Verch               Sewing-kit-with-tape-measure-and-pins                                                     VA0002239487
Marco Verch               Heart-made-from-dried-lavender-flowers--close-up                                          VA0002239487
Marco Verch               Close-up--photo-of-two-people-holding-glasses-of-champagne-on-xmas-bokeh-backgr           VA0002239487
Marco Verch               Roasted-Duck-Leg-With-Poatoes-On-Dinner-Set                                               VA0002239489
Marco Verch               Little-Pork-Burgers-On-Wooden-Plates                                                      VA0002239489
Marco Verch               Okroshka---Traditional-Russian-Cold-Soup-With-Fresh-Cucumber--Boiled-Eggs-And-D           VA0002239489
Marco Verch               Fresh-avocado--apples--spinach-leaves-and-chia-seeds-on-a-white-wooden-backgrou           VA0002239496
Marco Verch               A-man-is-getting-an-injection-with-a-syringe-at-hospital                                  VA0002239601
Marco Verch               Open-notebook-with-Hello-2021-text                                                        VA0002239603
Marco Verch               Open-notebook-with-New-Year-New-Me-text                                                   VA0002239603
Marco Verch               Hand-flipping-of-wooden-cubes-block-to-change-2020-to-2021-year                           VA0002239603
Marco Verch               Open-notebook-with-Time-for-planning-text-on-blue-background                              VA0002239603
Marco Verch               Wedding-Floral-Bouquet-With-Roses                                                         VA0002239489
Marco Verch               Romantic-Rose-And-Peonies-Birthday-Decor                                                  VA0002239489
Marco Verch               Group-of-people-sitting-on-dollar-banknote-with-white-background                          VA0002236254
Marco Verch               Small-family-house-with-judge-gavel                                                       VA0002236254
Marco Verch               Hands-putting-coin-into-piggy-bank                                                        VA0002236254
Marco Verch               Magnifying-glass-and-puzzle-piece-on-blue-background                                      VA0002236254
Marco Verch               Missing-puzzle-pieces-with-Next-Steps-text                                                VA0002236260
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Marco Verch               Black-leather-wallet-with-Dollar-banknotes-and-note-with-Tax-Time-text                      VA0002236260
Marco Verch               Stethoscope--syringe-and-missing-puzzle-with-a-HIV-text                                     VA0002236260
Marco Verch               Christmas-ornaments-with-Merry-Christmas-text                                               VA0002236260
Marco Verch               Man-assembling-a-jigsaw-puzzle                                                              VA0002236260
Marco Verch               Miniature-people-standing-on-white-jigsaw-puzzle-pieces-with-blue-background                VA0002236260
Marco Verch               Dollar-banknotes-with-Finance-text-on-black-background                                      VA0002236260
Marco Verch               Woman-cutting-fresh-avocado-at-table--Breakfast-of-avocado                                  VA0002236269
Marco Verch               Little-boy-sleeping-hugging-his-toy                                                         VA0002236269
Marco Verch               Cosmetic-injection-in-the-lips--close-up                                                    VA0002236269
Marco Verch               Time-to-start-saving-money                                                                  VA0002236273
Marco Verch               Two-heart-shaped-paper-cuts-under-protective-face-masks                                     VA0002236273
Marco Verch               Empty-white-plate-with-a-spoon-and-fork-wrapped-in-measuring-tape-on-white-back             VA0002236273
Marco Verch               Healthy-lifestyle-background-with-fruits--headphone--measuring-tape--towel--sne             VA0002236273
Marco Verch               A-content-manager-workspace-with-pc-keyboard--leather-notepad--smartphone-and-c             VA0002236273
Marco Verch               Planning-a-new-diet-for-weight-losing                                                       VA0002236273
Marco Verch               Miniature-businessman-standing-in-front-of-Taxes-text-on-white-background                   VA0002236254
Marco Verch               Paramedics-with-pills-and-ambulance-car-on-white-background                                 VA0002236254
Marco Verch               The-word-Business-with-group-of-businessman-on-white-background                             VA0002236254
Marco Verch               Piggy-bank-with-dollar-banknotes-on-orange-background                                       VA0002236254
Marco Verch               Hands-holding-medical-face-mask-on-orange-background                                        VA0002236254
Marco Verch               Top-view-of-notebook-with-rules-list-on-orange-background                                   VA0002236254
Marco Verch               Hands-putting-coin-into-piggy-bank                                                          VA0002236254
Marco Verch               Beautiful-decorated-pumpkin-pie-on-black-background-with-autumn-leaves--apple-a             VA0002237126
Marco Verch               Hand-with-marker-writing-Thank-you-text                                                     VA0002237127
Marco Verch               Bright-workspace--Wireless-headphone--notepad--wristwatch-and-cactus-from-above             VA0002227153
Marco Verch               Top-view-of-empty-notepad--blue-calculator-and-eyeglasses-on-white-background               VA0002227153
Marco Verch               Stylish-yellow-workspace-with-office-supplies                                               VA0002227153
Marco Verch               Home-office--Notepad--calculator--cactus-and-cookies-on-orange-background                   VA0002227153
Marco Verch               Woman-finishing-dough-prepares-in-the-kitchen                                               VA0002227153
Marco Verch               Overhead-view-of-a-woman-slicing-raw-cucumber-on-cutting-board                              VA0002227153
Marco Verch               A-headphone-and-cactus-plant-on-yellow-background                                           VA0002227153
Marco Verch               Tools-on-wooden-background-with-copy-space                                                  VA0002227153
Marco Verch               Lending-a-helping-hand--Solidarity--compassion--and-charity                                 VA0002227153
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Marco Verch               Cell-phone--protective-face-mask-and-car-keys--Must-have-items-during-coronavir           VA0002227153
Marco Verch               Top-view-of-preparing-christmas-letter-or-list-on-dark-background-with-wreath             VA0002226851
Marco Verch               Top-view-of-red-vintage-phone-with-handset-on-blue-background                             VA0002226851
Marco Verch               Hand-holds-money-on-the-background-of-a-gun-and-dollars                                   VA0002226851
Marco Verch               Top-view--pumpkin-and-medical-mask-on-an-autumn-leaf--Autumn-quarantine-concept           VA0002226851
Marco Verch               Medical-mask-with-the-inscription-Covid-on-a-white-plate--Thanksgiving-table-to           VA0002226851
Marco Verch               Close-up-ice-cream-with-strawberries-and-pink-chocolate                                   VA0002226851
Marco Verch               The-man-covered-his-face-with-his-hands-on-a-dark-background-with-an-empty-wall           VA0002226851
Marco Verch               Medical-mask-with-the-inscription-Covid-19-on-dry-autumn-leaves                           VA0002226851
Marco Verch               Burning-candle-on-a-female-hand--dark-background--Symbol-of-life--love-and-ligh           VA0002226851
Marco Verch               Corn-remover-plaster-on-white-background                                                  VA0002226851
Marco Verch               Burning-candle-on-a-female-hand--dark-background--Symbol-of-life--love-and-ligh           VA0002226851
Marco Verch               Good-digestion-concept--human-stomach-is-made-of-pills-on-a-blue-background               VA0002226851
Marco Verch               Baked-chicken-on-a-dark-background-with-pumpkin--fruits-and-autumn-leaves                 VA0002226851
Marco Verch               Preparing-for-Christmas-with-gifts-Santas-hat--paper--and-pen                             VA0002226851
Marco Verch               Blick-von-oben-auf-eine-weie-Tasse-gefllt-mit-Americano-Kaffee-auf-weiem-Holzhi           VA0002226292
Marco Verch               Futuristische-Wohnzimmereinrichtung-mit-Sofa-und-Sessel-in-abgerundeter-Form-un           VA0002226292
Marco Verch               Cup-of-black-coffee-in-women-hands                                                        VA0002226292
Marco Verch               Drugs-concept--International-drug-abuse-day--Social-disaster-and-fight-drugs              VA0002219986
Marco Verch               Close-up--Chinese-soup-with-brown-noodles-and-chicken-egg                                 VA0002219986
Marco Verch               Marker--pencils--ruler--medical-mask-and-antiseptic-on-a-green-background                 VA0002219986
Marco Verch               Landscape-with-Milky-Way--Night-sky-with-stars-at-summer                                  VA0002219986
Marco Verch               Frame-of-school-supplies-on-a-black-background-with-the-inscription-coronavirus           VA0002219986
Marco Verch               Human-liver-made-from-white-and-yellow-pills-on-blue-background                           VA0002219986
Marco Verch               Cones--nuts--chestnuts--physalis-and-autumn-leaves-on-a-dark-background                   VA0002219986
Marco Verch               Top-view-ingredients-for-making-homemade-chocolate-ice-cream                              VA0002219986
Marco Verch               A-sharp-yellow-pencil-towers-over-many-others                                             VA0002219986
Marco Verch               Close-up--honey-dipper-on-the-background-of-fresh-bee-honey                               VA0002219986
Marco Verch               Hand-Tools-on-the-white-wooden-background                                                 VA0002219994
Marco Verch               Fake-news-under-magnifying-glass                                                          VA0002214998
Marco Verch               Cup-of-warm-dark-coffe-and-books-on-a-rustic-table                                        VA0002214849
Marco Verch               Einkauf----Ausgaben-Konzept---Geldscheine-in-einem-Einkaufswagen                          VA0002214998
Marco Verch               Book-with-reading-glasses-on-white-background                                             VA0002215303
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Marco Verch               Coworking-Space-Wertheim                                                                  VA0002214868
Marco Verch               Close-up-of-the-tips-of-thick-colored-pencils                                             VA0002214870
Marco Verch               Water-bottle--apples--measuring-tape-and-towel-on-white-wooden-background--Top-           VA0002214870
Marco Verch               Pineapple-with-measuring-tape-on-white-background--Diet-food-concept                      VA0002214871
Marco Verch               Welcome-Background-to-the-onset-of-November-and-autumn-holidays                           VA0002214871
Marco Verch               Doctor-holding-clipboard-with-ADHD-text                                                   VA0002214872
Marco Verch               Weie-Kaffeetasse-mit-Kaffeebohnen-und-dem-Text-Happy-Monday---Frhlichen-Montag            VA0002214872
Marco Verch               Paprika--Tomaten--Knoblauch-und-verschiedene-Kruter-auf-einem-Holztisch                   VA0002214873
Marco Verch               Computer-mouse-Piggy-bank-Flip-2019-Flip-2019                                             VA0002214514
Marco Verch               Red-Cyber-Security-button-on-white-keyboard                                               VA0002214514
Marco Verch               Weie-Computertastatur-mit-roter-Taste-mit-Text-CONTACT-US-Kontaktiere-uns                 VA0002214514
Marco Verch               Calender-with-Europawahl-text                                                             VA0002214514
Marco Verch               Gelber-Text-HAPPY-EASTER-frohe-Ostern-mit-drei-bemalten-Ostereiern-auf-Holzhint           VA0002214514
Marco Verch               Mnzstapel-mit-Pfeil-und-dem-Text-Sales-Umsatz                                             VA0002214514
Marco Verch               Yellow-Narcissus-flower-with-leaves                                                       VA0002214524
Marco Verch               Fresh-ripe-fruit-on-dark-background                                                       VA0002214524
Marco Verch               Hand-in-latex-glove-with-sponge-and-detergent                                             VA0002214524
Marco Verch               Pinsel-fr-Farbe-liegt-auf-renovierten-Platten                                             VA0002214524
Marco Verch               Verschiedene-Bauarbeiter-Spielzeuge--wie-ein-gelber-Helm--Hammer--Schraubenzieh           VA0002214524
Marco Verch               Bunte-Pinsel-und-verschiedene-Farbtpfe-als-Zeichenset-auf-weiem-Untergrund                VA0002214524
Marco Verch               Colorful-crayons-background-Flip-2019                                                     VA0002214524
Marco Verch               Slices-of-yellow-cheese-for-sandwiches-on-white-background                                VA0002214527
Marco Verch               Spread-the-Coffee-Love                                                                    VA0002214527
Marco Verch               Woman-hand--writes-in-the-notepad                                                         VA0002214527
Marco Verch               Loderndes-Feuer-in-steinernem-Ofen-mit-Tpfen                                              VA0002214527
Marco Verch               Frisches-Gemse-und-natrliche-Getreide-als-ntzliche-und-gesunde-Ernhrung--mit-fa           VA0002214527
Marco Verch               Athlete-runs-the-marathon--next-to-two-cyclists--with-the-picture-title-Cologne           VA0002214527
Marco Verch               Healthy-food-background--Assortment-of-fresh-vegetables-and-cereals-on-paper-ba           VA0002214527
Marco Verch               Flat-lay-view-of-vegan-food-background-Flip-2019                                          VA0002214527
Marco Verch               Blick-ber-Tuileries-Garden-in-Paris                                                       VA0002214528
Marco Verch               Skills-improvement                                                                        VA0002214552
Marco Verch               Prozentzeichen-in-schwarz-unter-Lupe-vor-weiem-Hintergrund                                VA0002214552
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Marco Verch               2018-results-written-on-a-black-chalkboard-on-blue-background                               VA0002214552
Marco Verch               ROI--unter-der-Lupe-auf-weiem-Hintergrund                                                   VA0002214552
Marco Verch               Gietmann-Lukas-Leander--Graw-Boris---Kln-Marathon-2017                                      VA0002214553
Marco Verch               Moosrosen                                                                                   VA0002214553
Marco Verch               Original-Cheese-Cake-in-Vivomart                                                            VA0002214553
Marco Verch               Bowl-of-carrot-cream-soup-with-parsley-on-top-on-white-background                           VA0002214557
Marco Verch               Aufsicht---Gesundes-Frhstck---Joghurt-mit-Msli-und-Waldfrchten-auf-weiem-Hinter             VA0002214557
Marco Verch               Klner-Wohngebude-hinter-herbstfarbenen-Ahornbaum-und-unter-blauem-Himmel                    VA0002214557
Marco Verch               Wooden-dining-set-of-a-vacation-house                                                       VA0002214557
Marco Verch               Set-of-knitted-winter-gloves-and-hat-on-white-background                                    VA0002214557
Marco Verch               Nahaufnahme-von-Fubllen-in-einem-Springbrunnen                                              VA0002214557
Marco Verch               Flat-lay-with-written-2020--keyboard-and-a-plant--White-background-                         VA0002214557
Marco Verch               Soldier-Field-stadium-from-above                                                            VA0002214561
Marco Verch               Bulletproof-Coffee-with-MCT-Oil-and-Butter                                                  VA0002214561
Marco Verch               Rollentraining-mit-Zwift-auf-Canyon-Bike                                                    VA0002214561
Marco Verch               Lachskuchen                                                                                 VA0002214523
Marco Verch               Doctor-with-blackboard                                                                      VA0002211879
Marco Verch               Dragon-fruit-sprouts-close-up                                                               VA0002211883
Marco Verch               Smiley-face-from-yellow-pills-on-white-background--top-view                                 VA0002211883
Marco Verch               Close-up--a-piece-of-oatmeal-cookies-with-seeds-and-raisins-in-a-womans-hand                VA0002211883
Marco Verch               Hands-in-gloves-hold-a-globe-in-a-medical-mask--The-concept-of-the-fight-agains             VA0002211883
Marco Verch               Teen-woman-with-headache-holding-her-hand-to-the-head                                       VA0002211883
Marco Verch               A-glass-of-cognac-with-poker-cards--money-and-chips                                         VA0002211800
Marco Verch               Doctor-with-prescription-start-with-healthy-lifestyle                                       VA0002211879
Marco Verch               Close---up-of-many-different-pills-and-capsules                                             VA0002211883
Marco Verch               Transport-text-on-wooden-pallets                                                            VA0002211532
Marco Verch               Big-mans-hand-and-little-hand-newborn-Flip-2019                                             VA0002211532
Marco Verch               Happy-Easter-text-with-painted-Easter-eggs                                                  VA0002211532
Marco Verch               Medical-syringe-and-pills-on-blue-background                                                VA0002211532
Marco Verch               Male-hands-holding-smartphone-with-an-open-Twitter-application                              VA0002211532
Marco Verch               Doctor-holding-clipboard-with-Vet-text                                                      VA0002211532
Marco Verch               Light-beer-with-grilled-sausages-and-ketchup                                                VA0002211534
Marco Verch               Colorful-and-bright-autumn-forest                                                           VA0002211534
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Marco Verch               Cinnamon-sticks-and-ground-cinnamon                                                       VA0002211534
Marco Verch               Hot-red-chili-peppers-and-red-pepper-flakes-in-spoon-on-old-wooden-background             VA0002211534
Marco Verch               Turmeric-and-turmeric-powder-on-white-background-Flip-2020                                VA0002211534
Marco Verch               Fresh-green-mint-Bush-close-up                                                            VA0002211534
Marco Verch               Cleaning-products-with-rubber-gloves-in-the-kitchen-by-the-window-Flip-2019               VA0002211534
Marco Verch               Big-Burger-and-a-glass-of-beer-behind-                                                    VA0002208724
Marco Verch               Frische-Gurken--Mhren--Zwiebeln--Tomaten-und-Rote-Bete-liegen-fr-ein-gesundes-E           VA0002208724
Marco Verch               Mathematikaufgabe-fr-Schler-umgeben-von-bunten-Schreib---Mal--und-Bastelmateria           VA0002208724
Marco Verch               Honey-dipper-on-the-bee-honeycomb-background                                              VA0002208724
Marco Verch               Close-up-of-cacti-species-Echinopsis                                                      VA0002208724
Marco Verch               Crumpled-paper-balls-with-magnifying-glass-over-question-mark                             VA0002208726
Marco Verch               Stack-of-books-on-white-background                                                        VA0002208726
Marco Verch               A-glass-of-fresh-orange-juice-with-fruit-oranges                                          VA0002208695
Marco Verch               Honey-dipper-on-the-bee-honeycomb-background                                              VA0002208724
Marco Verch               Healthy-natural-green-tea-with-ginger-root--honey-and-lemons                              VA0002208724
Marco Verch               Mathematikaufgabe-fr-Schler-umgeben-von-bunten-Schreib---Mal--und-Bastelmateria           VA0002208724
Marco Verch               Merry-Christmas-greeting-card-with-gingerbread-cookies                                    VA0002208725
Marco Verch               Like-us-text-on-mobile-phone                                                              VA0002208726
Marco Verch               Turnschuhe-stehen-auf-schwarzem-Hintergrund-und-verlassen-die-Comfort-Zone--um-           VA0002208726
Marco Verch               Young-doctor-on-blue-background                                                           VA0002208726
Marco Verch               Calculator-showing-10-on-display                                                          VA0002208726
Marco Verch               Stack-of-books-on-white-background                                                        VA0002208726
Marco Verch               Doctor-holding-clipboard-with-Doctors-day-text                                            VA0002208726
Marco Verch               Doctor-holding-clipboard-with-question-mark                                               VA0002208726
Marco Verch               Decorated-rabbit-egg-in-a-box-with-chicken-eggs                                           VA0002202132
Marco Verch               Set-nuts--seeds--dried-fruits-in-different-bowls-and-wooden-spoons-on-white-woo           VA0002202022
Marco Verch               Wet-dark-stones-with-chrysanthemum-flowers                                                VA0002202022
Marco Verch               Doctor-holding-clipboard-with-Health-care-text                                            VA0002201790
Marco Verch               Autumn-background-with-happy-Thanksgiving-inscription--The-concept-of-gratitude           VA0002201790
Marco Verch               Empty-checklist-with-pencil-on-clipboard                                                  VA0002197195
Marco Verch               Magnifying-glass-over-red-Error-text                                                      VA0002197195
Marco Verch               Well-groomed-female-hands-with-manicure-on-a-white-background                             VA0002200687
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Marco Verch               Nahaufnahme-von--Hnden-auf-Laptop-Tastatur--digitaler-Nomade-arbeitet-online              VA0002197199
Marco Verch               Person-typing-on-a-laptop-                                                                VA0002197209
Marco Verch               Fisch-Symbol-aus-Fischl-Kapseln                                                           VA0002196255
Marco Verch               Digitaler-Nomade-arbeitet-in-Caf-in-Vietnam-an-Laptop                                     VA0002197199
Marco Verch               Nahaufnahme-von--Hnden-auf-Laptop-Tastatur--digitaler-Nomade-arbeitet-online              VA0002197199
Marco Verch               Apple-iPhone-auf-MacBook-Laptop-auf-Holztisch-mit-Reflektion                              VA0002197199
Marco Verch               Laptop--Phone-and-Notebooks-are-needed-as-a-Digital-Nomad                                 VA0002197199
Marco Verch               Digitaler-Nomade-arbeitet-in-Caf-in-Vietnam-an-Laptop                                     VA0002197199
Marco Verch               Cooked-Vegetables-with-prepared-Fish-Sauce-in-Mui-Ne--Vietnam                             VA0002197203
Marco Verch               Entrance-Gates-of-Kuala-Lumpur-Train-System                                               VA0002197203
Marco Verch               White-Sand-Dunes-in-Mui-Ne-with-Sunset-Reflection                                         VA0002197203
Marco Verch               Burning-Incense-Sticks-in-a-Sand-filled-Pot-in-Jade-Emperor-Pagoda-in-Saigon              VA0002197203
Marco Verch               Doing-Kettlebell-Push-Press-with-one-arm                                                  VA0002197209
Marco Verch               Person--die-auf-einem-Laptop-schreibt                                                     VA0002197209
Marco Verch               Im-Regal-sortierte-Hanteln-fr-Kraftbungen-in-Fitnessstudio                                VA0002197209
Marco Verch               Mann-vor-Spiegel-in-Ausgangsposition-fr-Gewichtheben-mit-Langhantel                       VA0002197209
Marco Verch               Person--die-auf-einem-Laptop-schreibt                                                     VA0002197209
Marco Verch               Stretching-a-spring-on-a-cross-machine                                                    VA0002197209
Marco Verch               Kunde-kauft-griechisches-Streetfood-an-einem-Imbiss-mit-beleuchteter-Theke--in-           VA0002196000
Marco Verch               Main-square-of-Frankfurt--Hauptplatz-von-Frankfurt                                        VA0002196118
Marco Verch               Padlock-on-computer-parts                                                                 VA0002196260
Marco Verch               White-alarm-clock-on-green-grass-with-sunlight-blur                                       VA0002196260
Marco Verch               Empty-Wallet-with-Flag-of-USA--Recession-and-Financial-Crisis-to-come-with-more           VA0002196260
Marco Verch               Hand-holding-card-with-text-Hello                                                         VA0002196391
Marco Verch               Spielzeug-Wildtiere-vor-weiem-Hintergrund                                                 VA0002196391
Marco Verch               Cleaning-the-house-concept-hand-holding-a-yellow-sponge-wet-with-foam-on-a-blac           VA0002197220
Marco Verch               Tablets-in-a-glass-bottle-and-blisters-on-a-white-background                              VA0002197220
Marco Verch               Red-onion-bulbs-and-cross-section-of-onion-and-sliced-into-rings                          VA0002197220
Marco Verch               Spring-break-written-on-blackboard                                                        VA0002201092
Marco Verch               Concept-of-national-healthcare-system-in-United-Kingdom                                   VA0002201092
Marco Verch               Taschenrechner-zeigt-das-Wort-Lohnabrechnung-Payroll-im-Display-an                        VA0002201092
Marco Verch               Hotel-bell-with-welcome-sign                                                              VA0002201092
Marco Verch               Old-wooden-hut-in-center-of-Leipzig                                                       VA0002196000
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Marco Verch               Customer-buyin-Greece-street-food                                                         VA0002196000
Marco Verch               Mobile-Phone                                                                              VA0002196124
Marco Verch               Road-on-the-edge-of-the-cliff                                                             VA0002196124
Marco Verch               Close-Up-of-Womans-Hands-Working-on-the-Laptop                                            VA0002196124
Marco Verch               Money-bag-with-euro-symbol                                                                VA0002196260
Marco Verch               Calculator-with-the-year-2029-on-the-display                                              VA0002196260
Marco Verch               Hand-with-blue-marker-writing-list-of-rules                                               VA0002196260
Marco Verch               Stop-plastic-pollution                                                                    VA0002196391
Marco Verch               Wilde-Himbeeren-in-einer-Hand---Nahaufnahme                                               VA0002197218
Marco Verch               Products-for-preparation-of-spaghetti                                                     VA0002197220
Marco Verch               White-bottle-with-shower-gel-and-washcloth                                                VA0002197220
Marco Verch               Delicious-homemade-golden-pancakes-with-fresh-raspberries--blueberries-and-mulb           VA0002197220
Marco Verch               Popcorn-Schachtel                                                                         VA0002200134
Marco Verch               Giving-a-vote-at-European-elections                                                       VA0002201092
Marco Verch               Einmachglas-gefllt-mit-Mnzen-und-Zettel-mit-Wort-DONATION-Spenden-vor-weiem-Hin           VA0002201092
Marco Verch               Taschenrechner-zeigt-das-Wort-Interesse-interest-im-Display-an                            VA0002201092
Marco Verch               Nahaufnahme-von-Schachfiguren-auf-einem-Schachbrett                                       VA0002196904
Marco Verch               Back-to-school-und-ein-Apfel                                                              VA0002196939
Marco Verch               Hotdog-mit-knusprigem-Speck--geriebenem-Kse--Chips--Cherrytomaten--Zwiebel-und-           VA0002196939
Marco Verch               Tomato-Sauce--Close--Up                                                                   VA0002196904
Marco Verch               2018-Calendar-with-Pen-and-Laptrop                                                        VA0002196904
Marco Verch               Laundry-Basket-with-Clothes-on-a-White-Background                                         VA0002196904
Marco Verch               Kleine--bunte-Gewichte                                                                    VA0002196904
Marco Verch               Back-to-School-letters-with-a-Book-and-a-Apple                                            VA0002196939
Marco Verch               Back-to-school-und-ein-Apfel                                                              VA0002196939
Marco Verch               Road-Development-in-Salvador-Benedicto                                                    VA0002202720
Marco Verch               Basic-calculator-with-credit-cards-below                                                  VA0002198899
Marco Verch               A-large-living-room-and-entertainment-area                                                VA0002198899
Marco Verch               Win-Gewinnen-Text-mit-Reizwecken-auf-schwarzem-Untergrund                                 VA0002198899
Marco Verch               A-blue-headphones-on-white-surface-Flip-2019                                              VA0002198899
Marco Verch               Fresh-apples-displayed-in-a-fruit-stand                                                   VA0002198899
Marco Verch               December-2019-calendar--New-Years-eve                                                     VA0002196925
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Marco Verch               Top-view--two-homemade-hamburgers-with-knife-Flip-2019                                    VA0002196997
Marco Verch               Nasse-dunkle-Steine-mit-Chrysanthemenblten                                                VA0002196997
Marco Verch               Set-of-ice-cream-scoops-of-different-colors-and-flavours-on-white-background-Fl           VA0002196997
Marco Verch               Thank-you-Schrift-in-herbstlicher-Umgebung-fr-die-familire-Zeit-der-Feiertage             VA0002196997
Marco Verch               White-flowers-chamomile-garden                                                            VA0002196997
Marco Verch               French-fries-on-black-background                                                          VA0002196997
Marco Verch               Feta-Vegetable-SaladWith-Redish-And-Cucumbers                                             VA0002198116
Marco Verch               Geffnete--alte-Bibel-mit-verfrbten-Seiten-und-kunstvollem--silbernem-Kreuz-als-           VA0002199685
Marco Verch               Colored-pencils-close-up                                                                  VA0002199685
Marco Verch               Mens-tools-to-work-and-repair-around-the-house                                            VA0002199685
Marco Verch               Dairy-products                                                                            VA0002199685
Marco Verch               Black-bread-on-the-kitchen-Board-with-wheat-spikelets                                     VA0002199685
Marco Verch               Colored-pencils-close-up                                                                  VA0002199685
Marco Verch               The-medication-in-the-syringe                                                             VA0002199685
Marco Verch               The-concept-of-weight-loss-the-green-apples-and-a-glass-of-water-with-a-measuri           VA0002199685
Marco Verch               Two-glasses-of-fresh-beer                                                                 VA0002199685
Marco Verch               31th-October--Halloween-date-marked-on-October-2019-calendar                              VA0002196925
Marco Verch               December-2019-calendar--New-Years-eve                                                     VA0002196925
Marco Verch               Lots-of-colorful-and-different-shapes-of-pills--pills-and-capsules-on-white-bac           VA0002196997
Marco Verch               Woman-cuts-fresh-steak-with-a-knife-and-fork                                              VA0002196997
Marco Verch               Composition-of-spa-treatment-on-light-background                                          VA0002196997
Marco Verch               Drei-rote-Herzen-hngen-an-Wscheklammern-vor-weier-Holzwand-und-stehen-fr-Liebe            VA0002196997
Marco Verch               Hintergrund-fr-Grusskarte-zu-Valentinstag-aus-roten-Herzen-in-verschiedenen-Gre           VA0002196997
Marco Verch               Kleine-sprieende-Tomatensetzlinge-in-frischer-feuchter-Erde                               VA0002196997
Marco Verch               Delicious-tea-with-dried-fruits-and-nuts-in-a-wooden-spoon                                VA0002196997
Marco Verch               Drei-rote-Herzen-hngen-an-Wscheklammern-vor-weier-Holzwand-und-stehen-fr-Liebe            VA0002196997
Marco Verch               A-letter-with-a-red-Valentine-inside                                                      VA0002196997
Marco Verch               Open-book-with-vegetables-and-wooden-spoons                                               VA0002196997
Marco Verch               Nicht-zugeklebter-Briefumschlag-in-sanftem-Rot-vor-weiem-Hintergrund                      VA0002196997
Marco Verch               Leuchtend-rote-Tomaten-vor-Kraussalat-und-einem-Strauch-Dill-auf-weiem-Hintergr           VA0002196997
Marco Verch               Glass-bowl-with-popcorn-on-white-background                                               VA0002196997
Marco Verch               Chocolate-muffin-with-chocolate-pieces-on-dark-background                                 VA0002196997
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Marco Verch               Spa-Utensilien-fr-Hautpflege-wie-Creme--Seife-und-Badesalz-mit-Badetuch-vor-dun           VA0002196997
Marco Verch               Seifenspender-mit-Duschgel-und-violetter-Waschlappen-auf-rosarotem-Hintergrund            VA0002196997
Marco Verch               Sets-of-cleaning-tools-for-home-cleaning                                                  VA0002196997
Marco Verch               In-einer-Linie-aufgereihte-Spulen-mit-Nhfaden-auf-weiem-Tisch                             VA0002196997
Marco Verch               Close-up-of-a-piece-of-juicy-steak-on-a-fork                                              VA0002196997
Marco Verch               Kleine-sprieende-Tomatensetzlinge-in-frischer-feuchter-Erde                               VA0002196997
Marco Verch               Nahaufnahme-von-in-Scheiben-geschnittenem-Fetakse-mit-entsteinten-schwarzen-Oli           VA0002196997
Marco Verch               Lollipop-liegt-auf-bunten-Sigkeiten-in-Kugelform-auf-weiem-Hintergrund                    VA0002196997
Marco Verch               Globe-on-white-background                                                                 VA0002196997
Marco Verch               Bunter-Spielzeugzug-mit-aufgedruckten-Zahlen-transportiert-aufgesteckt-e-Katze-           VA0002196997
Marco Verch               Hello-autumn-tag-on-yellow-note-with-autumn-background                                    VA0002196997
Marco Verch               Nahaufnahme-von-Hotdog-mit-Senf-in-der-Hand-einer-Person                                  VA0002196997
Marco Verch               Weier-Seifenspender-mit-Duschgel-und-rosaroter-Waschlappen-vor-dunklem-Hintergr           VA0002196997
Marco Verch               A-piece-of-homemade-pumpkin-pie-with-fresh-ripe-pumpkin--autumn-leaves-and-a-fo           VA0002196997
Marco Verch               Yellow-pencil-standing-out-from-crowd-of-plenty-identical-grey-fellows-on-white           VA0002196997
Marco Verch               Top-view-sortierte-Schokoladen-auf-weiem-Hintergrund                                      VA0002196997
Marco Verch               Branch-of-bamboo-with-small-leaves-on-the-window-background                               VA0002196997
Marco Verch               Nasse-dunkle-Steine-mit-Chrysanthemenblten                                                VA0002196997
Marco Verch               Kleine-sprieende-Tomatensetzlinge-in-frischer-feuchter-Erde                               VA0002196997
Marco Verch               A-half-eaten-slice-of-ripe-watermelon-on-a-stick-Flip-2019                                VA0002196997
Marco Verch               Pink-pencil-and-shavings-on-yellow-paper-background                                       VA0002196997
Marco Verch               Text-SUGAR-mit-Finger-in-Kristallzucker-geschrieben-und-mit-Wrfelzucker-auf-grn           VA0002196997
Marco Verch               Set-of-ice-cream-scoops-of-different-colors-and-flavours-on-white-background-Fl           VA0002196997
Marco Verch               Wohnzimmer-eines-privaten-Gstehauses-mit-offenem-Kamin-und-heller--rustikaler-E           VA0002196997
Marco Verch               Assortment-of-ripe-fresh-summer-vegetables-for-healthy-nutrition-Flip-2019                VA0002196997
Marco Verch               Sanfter-Regenbogen-auf-weiem-Hintergrund-mit-bunten-Holzstiften-fokussiert                VA0002196997
Marco Verch               Fresh-ripe-apple-on-black-background--Food-ingredients--Health-product                    VA0002196997
Marco Verch               Man-fork-is-gaining-salad--The-concept-of-diet                                            VA0002196997
Marco Verch               Colorful-pencils-not-sharpened-close-up                                                   VA0002196997
Marco Verch               Fresh--home-cooked-on-the-grill-fire-barbecue-pork-with-skewers                           VA0002196997
Marco Verch               Thank-you-Schrift-in-herbstlicher-Umgebung-fr-die-familire-Zeit-der-Feiertage             VA0002196997
Marco Verch               small-tomato-seedling-in-the-ground                                                       VA0002196997
Marco Verch               Pouring-honey-onto-tasty-pancakes-with-berries-on-table--closeup                          VA0002196997
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Marco Verch               Frozen-glass-with-beautiful-ice-patterns-in-light-blue                                    VA0002196997
Marco Verch               Croissantgebck-mit-Schokoladendrops-verziert--auf-einem-schwarzen-Bretten-aus-N           VA0002197096
Marco Verch               Chocolate-Cake-slice-with-Colorful-Sprinkles-on-the-top                                   VA0002197096
Marco Verch               Cup-of-Coffee-in-closeup-with-copy-space                                                  VA0002197096
Marco Verch               Verkaufsstand-auf-einem-Marktplatz-mit-frischen-Frchten-in-Krben                          VA0002197096
Marco Verch               Weidenstrauch-auf-dunklem-Untergrund                                                      VA0002198116
Marco Verch               Kid-Toy-building-blocks                                                                   VA0002198116
Marco Verch               Slices-Of-Fresh-Ciabatta                                                                  VA0002198116
Marco Verch               White-And-Red-Peonies-On-Picnic-Table                                                     VA0002198116
Marco Verch               Spektakulre-Flammen-eines-Feuers                                                          VA0002199685
Marco Verch               Eine-Frau-mit-Stulpen-an-den-Hnden-hlt-ein-Weihnachtsgeschenk--umgeben-von-Tann           VA0002199685
Marco Verch               Colored-drawing-pencils-in-a-variety-of-colors                                            VA0002199685
Marco Verch               High-Angle-Shot-of-A-Christmas-present-in-ecological-paper--with-cone-in-the-sn           VA0002199685
Marco Verch               Business-background-concept                                                               VA0002199685
Marco Verch               Wireless-microphone-closeup                                                               VA0002199685
Marco Verch               Golden-snowflakes-on-snow-background--Winter-holidays-concept                             VA0002199685
Marco Verch               Eine-Tasse-Kaffee-mit-Zimt-Walnssen-und-Tannenzweigen                                     VA0002199685
Marco Verch               A-glas-of-mulled-wine-with-tangerines--cinnamon-and-christmastree-branches-on-r           VA0002199685
Marco Verch               Glass-of-milk-with-ginger-cookies-on-Christmas-background                                 VA0002199685
Marco Verch               Orangen-und-ein-Glas-frischer-Orangesaft-auf-braunen-Holz-Hintergrund                     VA0002199685
Marco Verch               Merry-Christmas-card-and-gift-box-handmade-on-winter-new-year-background--Prepa           VA0002199685
Marco Verch               A-glass-of-mulled-wine-on-a-background-of-Golden-bokeh                                    VA0002199685
Marco Verch               Funny-gingerbread-men-with-tree-branches-and-candy                                        VA0002199685
Marco Verch               Taschenrechner-mit-verschiedenen-Schreibern-in-Behlter-und-Brille-vor-weiem-Hin           VA0002199685
Marco Verch               Man-working-on-laptop                                                                     VA0002199685
Marco Verch               Lebkuchenmann-an-roter-Tasse-mit-Marshmallows-und-Tannenzweigen-und-Geschenk-im           VA0002199685
Marco Verch               Ein-Mann-hlt-lose-Maiskrner-in-den-Hnden                                                  VA0002199685
Marco Verch               Drei-kleine-Schneemnner-mit-Mtze-und-Schal-vor-Weihnachtsgeschenken-im-Schnee             VA0002199685
Marco Verch               Eine-rote-Rose-mit-Wassertropfen-auf-schwarzem-Hintergrund                                VA0002199685
Marco Verch               Christmas-composition-with-a-lantern--snow-on-the-background-of-a-garland                 VA0002199685
Marco Verch               The-capsule-is-considered-under-the-magnifying-glass                                      VA0002199685
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Marco Verch               Rote-Weihnachtsbaumkugel-im-Schnee-mit-Tannenzweigen-und-rotem-Wecker                     VA0002199685
Marco Verch               Ein-Weihnachtsgeschenk-mit-roter-Christbaumkugel-und-Tannenzapfen-geschmckt-lie           VA0002199685
Marco Verch               Schulutensilien-wie-Lineal--Buntstifte--Pinnadeln--Textmarker--Schere--bunte-Pa           VA0002199685
Marco Verch               Abnehmen---Grne-pfel-mit-einem-Glas-Wasser-und-einem-Maband-auf-schwarzem-Hinte           VA0002199685
Marco Verch               Two-glasses-of-brandy-with-ice                                                            VA0002199685
Marco Verch               Cup-of-hot-fresh-coffee-on-a-white-background-with-grains                                 VA0002199685
Marco Verch               Colored-drawing-pencils-in-a-variety-of-colors                                            VA0002199685
Marco Verch               Nahaufnahme-von-gesalzenen--ungeschlten-Pistaziennssen-auf-hellblauem-Teller              VA0002199685
Marco Verch               Cross-on-the-open-book-of-the-Bible                                                       VA0002199685
Marco Verch               Nahaufnahme-von-schwarzem-Eyeliner-mit-Przisionsspitze-fr-perfektes-Augenmake-u           VA0002199685
Marco Verch               Cross-on-the-open-book-of-the-Bible                                                       VA0002199685
Marco Verch               Business-background-concept                                                               VA0002199685
Marco Verch               Tangerine-and-persimmon-smoothies                                                         VA0002199685
Marco Verch               Hand-mit-medizinischem-Handschuh-hlt-verschiedenen-Tabletten                              VA0002199685
Marco Verch               Spektakulre-Flammen-eines-Feuers                                                          VA0002199685
Marco Verch               Eine-Axt-steckt-in-einem-Holzpflock                                                       VA0002199685
Marco Verch               Wireless-microphone-closeup                                                               VA0002199685
Marco Verch               Composition-of-fresh-citrus-for-healthy-nutrition                                         VA0002199685
Marco Verch               Makrelen-mit-Gewrzen-und-Zitronensaft                                                     VA0002199685
Marco Verch               Set-von-Medikamenten-mit-Spritze--Ampullen-und-Flasche-mit-medizinischer-Lsung            VA0002199685
Marco Verch               The-doctor-fills-the-medicine-in-the-syringe                                              VA0002199685
Marco Verch               Vitamin-C---A-halfed-orange-with-lemons-and-oranges-in-the-background-on-a-kitc           VA0002199685
Marco Verch               Arzt-mit-weien-Handschuhen-nimmt-Tablette-aus-Auswahl-von-Medikamenten                    VA0002199685
Marco Verch               High-Angle-Shot-of-A-Christmas-present-in-ecological-paper--with-cone-in-the-sn           VA0002199685
Marco Verch               Mens-tools-to-work-and-repair-around-the-house                                            VA0002199685
Marco Verch               Colored-pencils-close-up                                                                  VA0002199685
Marco Verch               Mens-tools-to-work-and-repair-around-the-house                                            VA0002199685
Marco Verch               Tonometer-with-stethoscope-on-white-background                                            VA0002199685
Marco Verch               Dunkler-Eyeliner-mit-Przisionspinsel-zeichnet-Linie-auf-weiem-Untergrund                  VA0002199685
Marco Verch               Colored-pencils-close-up                                                                  VA0002199685
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Marco Verch               Eine-Axt-steckt-in-einem-Holzpflock                                                         VA0002199685
Marco Verch               Christmas-background-with-glass-of-mulled-wine--ginger-cookies--Christmas-tree-             VA0002199685
Marco Verch               Christmas-composition-with-Golden-Christmas-toys-in-the-snow                                VA0002199685
Marco Verch               Climate-change-concept                                                                      VA0002198127
Marco Verch               Typewriter-blanko-usco-registration                                                         VA0002198127
Marco Verch               Compass-on-map                                                                              VA0002198127
Marco Verch               Typewriter-blanko-usco-registration                                                         VA0002198127
Marco Verch               Compass-on-map                                                                              VA0002198127
Marco Verch               Spotify-Logo-des-Musikstreaming-Diensts--vergrert-dargestellt-unter-einer-Lupe              VA0002198127
Marco Verch               Losing-and-winning-money-with-online-gambling-and-poker-games                               VA0002198127
Marco Verch               Compass-on-map                                                                              VA0002198127
Marco Verch               Close-up-of-colored-Easter-eggs                                                             VA0002198127
Marco Verch               Hand-holding-card-with-text-Good-news                                                       VA0002198139
Marco Verch               Man-holding-hourglass                                                                       VA0002198139
Marco Verch               Hope-written-on-a-plate                                                                     VA0002198139
Marco Verch               Pointing-Africa-on-globus                                                                   VA0002198141
Marco Verch               Alarm-clock-in-bedroom                                                                      VA0002198141
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Marco Verch               Christmas-Cristal-Decor                                                                      VA2196527
Marco Verch               Eine-Schssel-mit-Mandelpltzchen                                                             VA0002196527
Marco Verch               Detail-Of-Spruce                                                                            VA0002196527
Marco Verch               Plate-Of-Fresh-Vegetables                                                                   VA0002196527
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Marco Verch               Zeit-zu-whlen                                                                               VA0002198127
Marco Verch               Stethoscope-and-red-heart-on-white-background                                               VA0002198127
Marco Verch               Mans-hand-showing-thumb-up---like-sign-on-black-background--Concept-positive-as             VA0002198127
Marco Verch               Diagnose-Stre--geschrieben-auf-blauem-rzteordner--neben-Medikamenten-und-Stetho             VA0002198127
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Marco Verch               100-Dollar-Banknoten-fallen-aus-geffneter-Brieftasche-aus-braunem-Leder-vor-wei           VA0002198127
Marco Verch               Text-HAPPY-VALENTINES-DAY-Froher-Valentinstag-als-rote-Tasten-auf-weier-Tastatu           VA0002198127
Marco Verch               Hand-hlt-Notizzettel-mit-dem-Text-Contact-us-Kontaktiere-uns                              VA0002198127
Marco Verch               Sparschweinchen-mit-Dollarscheinen-und-Centmnzen-auf-weiem-Hintergrund                    VA0002198127
Marco Verch               Retro-Kompass-auf-einer-Straenkarte                                                       VA0002198127
Marco Verch               Hand-hlt-Spielkarten-mit-einer-Zwei-und-einer-Sieben--der-schlechtesten-Hand-im           VA0002198127
Marco Verch               Gold-bar-with-hundred-dollar-bills                                                        VA0002198127
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Marco Verch               Weier-Wecker-im-Vintagestil-mit-goldenen-Uhrzeigern--im-grnen-Gras-unter-Sonnen           VA0002198127
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Marco Verch               Google-logo-on-a-computer-screen-with-a-magnifying-glass                                  VA0002198139
Marco Verch               Thank-you-text-hanging-on-the-rope                                                        VA0002198139
Marco Verch               Travel-theme-with-miniature-airplane-and-globe                                            VA0002198139
Marco Verch               Eine-Bitcoin-Mnze-auf-einer-schwarzen-Kreditkarte-und-einem-Geldschein                    VA0002198139
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Marco Verch               Google-logo-on-a-computer-screen-with-a-magnifying-glass                                  VA0002198139
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Nenad Stojkovic           Brother and sister learning with their parents.                                           VA0002275655
Nenad Stojkovic           2020 cookie Christmas decorations.                                                        VA0002275655
Nenad Stojkovic           2020 cookie Christmas decorations.                                                        VA0002275655
Nenad Stojkovic           Flowers, coffee and notebook for morning                                                  VA0002275655
Nenad Stojkovic           Coffee and colorful flowers on work desk.                                                 VA0002275655
Nenad Stojkovic           Little happy girl having fun with her dog in the garden.                                  VA0002275655
Nenad Stojkovic           Gardeners hand planting flowers in pot                                                    VA0002275655
Nenad Stojkovic           Beautiful young woman sitting on her bed and reading a book                               VA0002275655
Nenad Stojkovic           Flowers, coffee and notebook for morning                                                  VA0002275655
Nenad Stojkovic           Closeup of golden floydrose on electric guitar                                            VA0002275655
Nenad Stojkovic           Homemade burger with french fries on wooden board                                         VA0002275655
Nenad Stojkovic           Inside of the old pc case with intel stock cooler on cpu                                   VA2276006
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Nenad Stojkovic         Young woman writing notes in planner closeup.                                               VA0002274304
Nenad Stojkovic         Woman typing on her laptop.                                                                 VA0002209565
Nenad Stojkovic         Cup of coffee near the Macbook closeup.                                                     VA0002209565
Nenad Stojkovic         Closeup of old books in the library.                                                        VA0002209565
Nenad Stojkovic         Closeup of hot coffee near Macbook. Morning concept.                                        VA0002209565
Nenad Stojkovic         A business woman working on a laptop in an abandoned house.                                 VA0002209565
Nenad Stojkovic         Back view of woman holding a fitness mat.                                                   VA0002209565
Nenad Stojkovic         Young man using typing retro typewriter machine in his office.                              VA0002275655
Nenad Stojkovic         Woman in the park doing yoga on the mat.                                                    VA0002274302
Nenad Stojkovic         Woman experiencing neck pain while looking at her laptop.                                   VA0002274304
Nenad Stojkovic         Various halloween candies in the small glass bowls on the table.                            VA0002274311
Nenad Stojkovic         Close up of the glasses with black frame surrounded by books.                               VA0002274374
Nenad Stojkovic         Close up of the lemons and a cup on a wooden table. One lemon sliced in half an             VA0002274374
Nenad Stojkovic         Little girl enjoying some time off in the pool. Hands in the water closeup.                 VA0002274375
Nenad Stojkovic         Tired girl using laptop at home.                                                            VA0002274288
Nenad Stojkovic         Above view of old fashioned alarm clock on wooden background. Morning concept.              VA0002274288
Nenad Stojkovic         Auto mechanic checking old car battery voltage                                              VA0002274300
Nenad Stojkovic         Close up of a woman using her laptop and holding a cup of coffee.                           VA0002274374
Nenad Stojkovic         Black PC keyboard closeup.                                                                  VA0002274374
Nenad Stojkovic         Little girl holding old books and ready for school.                                         VA0002274374
Nenad Stojkovic         Small home office near window.                                                              VA0002274375
Nenad Stojkovic         The child's hand on the parent's hand from above.                                           VA0002274288




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